Case 3:11-cv-00065-JRS Document 10-2 Filed 06/08/11

VIRGINIA:

BY HER MOTHER,

IN THE CIRCUIT COURT OF THE CITY OF RICHMOND

IA. B+ | .
SAKIA HALL AS NEXT FRIEND,
and
SAKIA HALL

Plaintiffs,

= Case No.:
vs. CL10-3675-09
HAROLD FORD

Defendant.

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DEPOSITION OF K,8.

May 20, 2011

1:40 P.M,

Taken at:

THE CITY ATTORNEY'S OFFICE
900 East Broad Street, Room 300

Richmond, Virginia 23219

REPORTED BY: HELEN B. YARBROUGH, RPR, CCR, CLR

Cook & Wiley, Inc.
Registered Professional Reporters
3751 Westerre Parkway, Suite D-1

Richmond, Virginia 23233
(804) 359-1984

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A

Q

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Yes?

Yes.

Was it a bunch of them?

Yes.

And as they were gathering around, was that
you feel bad because you were being talked to
police officer?

Yes.

Tt did? And did you talk louder?

No.

What did you do?

Didn't say anything.

Didn't say anything? Were you upset,

Yes.
Did you let him know that you were upset?
No.

When you were at the doorway, did you try to

get away from Officer Ford?

A

Oo Ff CO P 0

Yes.

Okay. What happened?

(Pause. )

Did he keep you from getting away?
Yes.

Okay. And. did you try to hit him when he

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tried to stop you from getting away?

PO PP OO FP OO FP 0 FPF OO FP CO BP

Q

No.

Did you hit him?

No.

Were you trying to get away from him?

Yes.

Did you keep trying to get away from him?

Yes.

Were you angry?

Yes.

You let him know you were angry?

No.

But you tried to get away from him?

Yes.

Okay. Show me

Did you swing your arms,

from him?

A

Q
A
Q
A

Q

Yes.

Did you try to
No.

Did you try to
Huh?

Did you try to

get away from him?

A

No.

how you tried to get away.

try to pull your arms away

bite him, bite his hands?

drop down to the ground?

drop down to the ground to

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Q

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After you were outside with Officer Ford,

did you keep trying to get away from him?

PO Pp © PF 0

IO

Yes.

Okay. And did he say, "You need to stop or
to put the cuffs on you"?

Yes.

And then did you keep trying to get away?
Yes.

And then he put the cuffs on you?

Yes.

And then he put you in the car?

Yes.

Did he turn the air conditioner on and tell

you to calm down in the car?

» wo p 1 wo ~O Pp 1 o iO Dp

(Witness shakes head in the negative.)
Don't remember?

He said, "Calm down.”

He said, "Caim down"?

(Witness nods head in the affirmative.)
Did you eventually calm down?

No.

You didn't calm down?

I was trying to get out of the car.
You were trying to get out of the car?

(Witness nods head in the affirmative.)

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Q

A

Q

Is that "yes"?

Yes.

Before you got out of the car, did you

eventually calm down?

A

Q

Yes.

Okay. And after you

take the cuffs off?

y

Oo FP OO FP OC FF CO PF OO FP LO

time with

A

Q

Yes.

And

Yes.

And

Yes.

And

No.

You

No.

then did he take

took you to your

did you tell her

didn't?

What did you say?

calmed down, did he

you in the school?
counselor?

what happened?

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Nothing.

And did you finish -- did you spend some
the counselor then?

Yes.

And then did you go back to your classroom?
Yes.

Later that day,

Officer Ford?

do you remember seeing

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